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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

TASER INTERNATIONAL, INC., et al.,  )
                                    )              Case No.: 1:10-CV-03108-JOF
     Plaintiffs,                    )
                                    )
v.                                  )              [On removal from the State
                                    )              Court of Fulton County,
MORGAN STANLEY & CO., INC., et al., )              Georgia Case No.:
                                    )              2008-EV-004739-B]
     Defendants.                    )
____________________________________)

                     BRIEF IN SUPPORT OF PLAINTIFFS’
                   MOTION FOR REMAND, FEES AND COSTS



                                             John E. Floyd
                                             Georgia Bar No. 266413
                                             Steven J. Rosenwasser
                                             Georgia Bar No. 614908
                                             Nicole G. Iannarone
                                             Georgia Bar No. 382510
                                             BONDURANT, MIXSON &
                                             ELMORE, LLP
                                             1201 W. Peachtree Street
                                             3900 One Atlantic Center
                                             Atlanta, Georgia 30309
                                             floyd@bmelaw.com
                                             rosenwasser@bmelaw.com
                                             iannarone@bmelaw.com
                                             Phone: (404) 881-4100
                                             Facsimile: (404) 881-4100

                                             Attorneys for Plaintiffs
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                                     INTRODUCTION

           Defendant Merrill Lynch Professional Clearing Corporation’s (“ML Pro”)

Notice of Removal is a desperate and improper attempt to escape the jurisdiction of

the state court that has been handling this complex, multi-party litigation for more

than two years. Plaintiffs assert only state law claims in this action, and it is

undisputed that diversity jurisdiction does not exist. ML Pro thus resorts to the

well-worn, but repeatedly rejected, tactic of claiming that federal question

jurisdiction exists because one of many categories of predicate acts that Plaintiffs

allege in support of a Georgia Racketeer Influenced and Corrupt Organizations

(“RICO”) Act claim involves violations of federal law.

           In case after case, this Court has rejected such attempts to federalize Georgia

RICO claims. ML Pro relies on Ayres v. General Motors Corp., 234 F.3d 514 (11th

Cir. 2000), which involved a Georgia RICO claim that alleged only violations of

federal law as predicate acts and that turned on a legal issue relating to a federal

statute. The Eleventh Circuit specifically stated in Ayres that “[t]he particular

controversy in this case may very well make this case one of those exceptional

cases” that supports federal jurisdiction, id. at 519, and this Court has recognized

that Ayres “cabined its holding.” Neighborhood Mortg., Inc. v. Fegans, No. 1:06-

cv-1984-JOF, 2007 WL 2479205, at *4 (N.D. Ga. Aug. 28, 2007) (Forrester, J.)

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(Westlaw and unpublished cases are attached in Exhibit A).

           This Court has consistently rejected the argument that Ayres supports federal

jurisdiction over Georgia RICO claims when, as here, Plaintiffs’ allegations

include state law predicate acts. Id. at *3 (“The court finds Ayres distinguishable”

and orders remand where Georgia RICO claim alleges predicate acts under state

statutes as well as federal statutes); Austin v. Ameriquest Mortg. Co., 510 F.

Supp.2d 1218, 1226 (N.D. Ga. 2007) (Carnes, J.) (ordering remand because

Georgia theft by deception and theft by taking statutes could support Georgia

RICO claim such that case “does not satisfy either of the [Ayres] prongs”); Scouten

v. Amerisave Mortg. Corp., Nos. 1:04-cv-1125-CAM, 2004CV83343, 2004 WL

5486512, at *2 (N.D. Ga. Dec. 16, 2004) (Moye, J.) (ordering remand where,

“[u]nlike the plaintiffs in Ayres, Plaintiffs here alleged predicate acts under

Georgia law”); Gates Condominium Assoc., Inc. v. Arrow Exterminators, Inc., No.

1:04-cv-1258-CAP, slip op. at 6-7 (N.D. Ga. June 30, 2004) (Pannell, J.)

(distinguishing Ayres and ordering remand because “only two of the twelve

predicate acts alleged in the complaint involve the federal mail fraud statute; the

others concern [a list of Georgia statutes and claims]”); see Graham Commercial

Realty, Inc. v. Shamsi, 75 F. Supp. 2d 1371 (N.D. Ga. 1998) (O’Kelley, J.)

(ordering remand where Georgia RICO claim alleged ten federal predicate acts and

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nine state law predicate acts); see also Coker v. DaimlerChrysler, 220 F. Supp. 2d

1367, 1371-72 (N.D. Ga. 2002) (Story, J.) (ordering remand where “[i]n contrast”

to Ayres, “Defendant allegedly breached warranties that its vehicles complied with

‘all’ applicable safety standards, of which federal regulations are only one”).

           The foregoing decisions, none of which ML Pro cites, establish that the

attempt at removal here is baseless. ML Pro also fails to note that Defendants,

including ML Pro’s parent company, Defendant Merrill Lynch Pierce Fenner &

Smith (“Merrill Lynch”), tried and lost this same removal tactic in a case involving

similar allegations of deceptive and manipulative conduct in the context of short

sales. Avenius v. Banc of Am. Sec. LLC, No. C06-04458, 2006 WL 4008711, at *4

(N.D. Cal. Dec. 30, 2006) (included in Ex. A) (“Even when a complaint repeatedly

refers to federal law, it does not state a federal question where a plaintiff invokes

an independent state law.”) (citation omitted). Plaintiffs’ claims are based on state

law, federal question jurisdiction does not exist, and the case should be remanded.

           NATURE OF THE CASE AND PROCEDURAL BACKGROUND

I.         PLAINTIFFS’ ALLEGATIONS

           This case arises out of Defendants’ efforts to reap profits by creating,

facilitating and trading in unauthorized, artificial shares of the common stock of

TASER International (“TASER”). Seventh Amended Complaint (“Complaint”)

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¶ 1 (Dkt. No. 1-1, Ex. A to Notice of Removal). Defendants are eleven Wall Street

institutions. Id. ¶¶ 45-53. Their illegal conduct occurs in the context of short sales

of TASER stock. In a typical legal short sale, a seller who expects the price of a

company’s stock to decline borrows shares of that stock and sells the borrowed

shares at the existing stock price; the seller then replaces the borrowed shares with

shares purchased at a later date and, hopefully, at a lower price. Id. ¶ 2.

           Defendants have devised and engaged in numerous deceptive, manipulative

and illegal short selling practices. Id. ¶¶ 5, 8. For example, Defendants engage in

and facilitate short sales of TASER stock (and other companies’ stock) without

actually borrowing the shares they purport to sell and without any intention of ever

borrowing or delivering those shares. In essence, Defendants, for themselves

and/or their clients, sell shares that they neither own nor intend to possess. Yet,

Defendants falsely represent that they have borrowed (or will borrow) and will

deliver shares of the shorted stock. Id. ¶ 8.

           When Defendants engage in illegal short sales of TASER stock, they

intentionally create unauthorized, artificial shares of that stock. 1 As set forth in the

Complaint, to protect bona fide purchasers of stock, when parties engage in short

sales, electronic book entries are made that reflect a transfer of shares to the
1
 As used in this brief, the terms “shares” and “stock” refer to shares of common
stock and/or security entitlements to that stock.
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purchaser, even if the shares are not actually delivered. Id. ¶ 4. Thus, when

Defendants fail to deliver shares reflected in transfer entries, which they do

intentionally, they have sold shares that they never owned or intended to possess,

and effectively created artificial shares of TASER stock. Id. ¶ 5 (former SEC

Chairman states, “‘Phantom shares created by naked shorting are analogous to

counterfeit money’”) (citation omitted). Those artificial “shares,” which were not

authorized or issued by Plaintiff TASER (and for which TASER was never paid in

a public offering), are then traded and re-traded, often by Defendants. Defendants

reap profits from virtually every aspect of their misconduct, even charging interest

on non-existent loans and commissions on short sales of never-delivered stock.

           Defendants’ practices, which are known as abusive naked short selling,

injure TASER and its shareholders in many ways, including by flooding the market

with unauthorized, artificial TASER “shares” that dilute the value of legitimate

TASER shares. Id. ¶ 6 (former SEC Chairman states that artificial shares

“‘devalue an issuer’s shares to the detriment of investors and [legitimate] issuers

alike’”) (citation omitted). Defendants have been repeatedly fined by securities

regulators for engaging in the conduct alleged in the Complaint. Id. ¶ 8 (five-page

list of sanctions issued against Defendants).

II.        PLAINTIFFS’ LEGAL CLAIMS

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           Defendants’ misconduct violates both Georgia law and federal law. It is

well-established that “‘the plaintiff [is] the master of the claim; he or she may

avoid federal jurisdiction by exclusive reliance on state law,’ even where a federal

claim is also available.” Dunlap v. G&L Holding Group, Inc., 381 F.3d 1285,

1290 (11th Cir. 2004) (quoting Caterpillar, Inc. v. Williams, 482 U.S. 386, 392

(1987)). 2 Plaintiffs here assert only state law claims. Specifically, Plaintiffs assert

claims for: (1) violation of the Georgia RICO Act, O.C.G.A. § 16-14-4 (Count

One); (2) violation of the former Georgia Securities Act (“GSA”) (Count Two); 3

(3) violation of the Georgia Computer Systems Protection Act (“CSPA”),

O.C.G.A. § 16-9-93 (Count Three); (4) conversion under Georgia law (Count

Four); and (5) money had and received under Georgia law (Count Five).

           With respect to the Georgia RICO claim, Plaintiffs have identified six

categories of predicate acts, five of which consist of violations of Georgia law and

only one of which consists of violations of federal law. Those six sets are: (a)

securities fraud in violation of the Georgia Securities Act, including former

O.C.G.A. §§ 10-5-5, 10-5-12 and 10-5-24; (b) securities fraud in violation of 15

U.S.C. § 78j, Regulation SHO (17 C.F.R. § 242.203), Rule 15c3-3 (17 C.F.R.
2
 As set forth, infra, neither of the limited exceptions to this rule applies here.
3
 The Georgia Securities Act of 1973 was in effect when Defendants engaged in the
conduct at issue. Thus, the Complaint and this brief cite to that statute, rather than
the Georgia Uniform Securities Act of 2008. Ex. B (compiling cited provisions).
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§ 240.15c3-3) and Rule 10b-5 (17 C.F.R. § 240.10b-5); (c) theft by taking in

violation of Georgia Code Section § 16-8-2; (d) theft by deception in violation of

Georgia Code Section § 16-8-3; (e) violation of the Georgia CSPA; and (f) perjury

in violation of Georgia Code Section § 16-10-70. Complaint ¶¶ 99-163.

III.       PROCEDURAL BACKGROUND

           Plaintiffs filed their original complaint on May 27, 2008. The original

complaint named eight defendants, including Merrill Lynch. Merrill Lynch has

thus been litigating in state court for over two years and is the 100% owner of ML

Pro. Both entities are represented by the same counsel.

           All eight initial Defendants (and two more added by amendment) moved to

dismiss based on the argument that federal securities laws and regulations preempt

all of Plaintiffs’ state law claims. After briefing and oral argument, the state court

denied Defendants’ motion, holding, “[T]he Court finds that the Plaintiffs have

alleged intentional market manipulation by the Defendants and that the Plaintiffs[’]

State law claims do not conflict with the Federal securities laws as Federal law

allows State regulation of securities.” Ex. C. Defendants also moved to dismiss

based on the argument that every count Plaintiffs assert fails to state a claim for

relief. The State Court denied that motion on July 29, 2009. Ex. D.

           The parties have engaged in extensive discovery in the 14 months since the

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denial of Defendants’ motions to dismiss. A great deal of discovery remains to be

conducted, however, and there are 21 outstanding motions in the case. Ex. E (list

of pending motions). On September 15, 2010, the State Court appointed Henry D.

Fellows, Jr., as a Special Master to address those motions.

           Also on that date, Plaintiffs filed a Seventh Amended Complaint, naming

ML Pro as one of the John Doe defendants because it is clear that ML Pro

participated in the misconduct at issue. Dissatisfied with the rulings in the state

court, Merrill Lynch seized on this amended complaint to have its wholly-owned

subsidiary attempt a gambit to avoid state court jurisdiction.

                   ARGUMENT AND CITATION OF AUTHORITY

I.         ML PRO BEARS THE BURDEN OF PROVING THE EXISTENCE
           OF FEDERAL QUESTION JURISDICTION.

           This Court has set forth the standards governing a motion to remand:

           On a motion to remand, the party that removed the action to federal court
           bears the burden of proving the existence of federal jurisdiction. See
           Leonard v. Enterprise Rent-a-Car, 279 F.3d 967, 972 (11th Cir. 2002). All
           doubts with respect to federal jurisdiction should be resolved against
           removal and in favor of remand to state court. See Diaz v. Sheppard, 85
           F.3d 1502, 1505 (11th Cir. 1996).

Neighborhood Mortg., 2007 WL 2479205, at *2 (Forrester, J.); Austin, 510

F. Supp. 2d at 1221 (“The Eleventh Circuit favors remand where jurisdiction is not

clear.”) (citation omitted); Graham, 75 F. Supp. 2d at 1373 (“Removal statutes are

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construed narrowly.”) (citation omitted).

           More specifically, ML Pro must prove that Plaintiffs cannot prevail on their

Georgia RICO claim without prevailing on a substantial, disputed issue of federal

law – a burden it cannot possibly meet given that Plaintiffs can prevail on their

Georgia RICO claim based on any one of five categories of state law predicate acts

(in addition to the one category of federal predicates alleged). There are only two,

limited exceptions to the rule that a plaintiff may avoid federal jurisdiction by

pleading state law claims: “(1) his state-law claims raise substantial questions of

federal law or (2) federal law completely preempts his state law claims.” Dunlap,

381 F.3d at 1290. ML Pro does not and cannot invoke the second exception, the

doctrine of complete preemption. 4 With respect to the first exception:

           In order for a state-law claim to raise substantial questions of federal law,
           “federal law must be an essential element of [the plaintiff’s] claim [and,] the
           federal right or immunity that forms the basis of the claim must be such that
           the claim will be supported if the federal law is given one construction or
           effect and defeated if it is given another.”

Id. (quoting Mobil Oil Corp. v. Coastal Petroleum Co., 671 F.2d 419, 422 (11th
4
 As the Eleventh Circuit has observed, “To date, the Supreme Court has identified
only three statutes that completely preempt related state-law claims: (1) § 301 of
the Labor Management Relations Act [ ], (2) § 1132 of the Employee Retirement
Income Security Act of 1974 [ ], and (3) §§ 85 and 86 of the National Bank Act.”
Dunlap, 381 F.3d at 1291; see also Pub. L. 91-452 § 904(b) (Oct. 15, 1970)
(“Nothing in this title [the federal RICO statute] shall supersede any provision of
Federal, State, or other law imposing criminal penalties or affording civil remedies
in addition to those provided for in this title.”).
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Cir. 1982)) (emphasis added). In other words, “in limited circumstances, federal-

question jurisdiction may also be available if a substantial, disputed question of

federal law is a necessary element of a state cause of action.” Neighborhood

Mortg., 2007 WL 2479205, at *2 (quoting Jairath v. Dyer, 154 F.3d 1280, 1282

(11th Cir. 1998)) (emphasis added).

II.        FEDERAL QUESTION JURISDICTION DOES NOT EXIST HERE.

           A.    Ayres Is a Narrow Decision in a Unique Set of Circumstances.

           ML Pro erroneously argues that under Ayres, a substantial, disputed question

of federal law exists in this case. ML Pro ignores the narrow scope of that

decision, which the Eleventh Circuit and this Court have expressly recognized.

           The plaintiffs in Ayres asserted a Georgia RICO claim against two

manufacturers who had allegedly failed to disclose a defect in cars the plaintiffs

purchased. The Georgia RICO claim was the plaintiffs’ sole remaining claim on

appeal. Allegations of mail and wire fraud under 18 U.S.C. §§ 1341 and 1343

“form[ed] the basis of the Georgia civil RICO claim.” 234 F.3d at 517. Thus, the

Georgia RICO claim was based on the “federal right, enforceable through the

federal RICO statute, to be free from violations of the federal mail and wire fraud

statutes,” not on any state law predicate. Id. at 518-19 (footnote omitted). Further,

whether the defendants had violated the federal mail and wire fraud statutes turned

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“entirely” on a legal question regarding another federal statute, the National Traffic

and Motor Vehicle Safety Act (“Safety Act”). Id. Thus, the Eleventh Circuit was

addressing a “situation [ ] in which Plaintiffs must prove federal crimes involving

a violation of the federal mail and wire fraud statutes to satisfy the necessary

predicate acts of their Georgia RICO cause of action,” id. at 519 (emphasis

added), and in which “resolution of this case depends entirely on interpretation of

the federal mail and wire fraud statutes and their interaction with the Safety

Act.” Id. at 518 (emphasis added).

           The Eleventh Circuit held that federal question jurisdiction existed and set

forth two requisites for its decision:

           We find federal question jurisdiction in this case because the case involves
           both (1) the necessity for Plaintiffs to prove, as an essential element of their
           state law cause of action, the existence of federal mail and wire fraud crimes
           as predicate acts, which crimes would be enforceable in a federal civil RICO
           cause of action; and (2) the fact that proof of the alleged federal mail and
           wire fraud crimes involves a very substantial federal question. Id. at 520.

           The Eleventh Circuit specifically noted the narrow scope of its decision,

stating that “[t]he particular controversy in this case may very well make this case

one of those exceptional cases” that supports federal jurisdiction. Id. at 519. The

Court of Appeals did not remotely suggest that federal jurisdiction exists over all

state law RICO actions that allege federal predicates. To the contrary, the Court

stated that “‘the mere presence of a federal issue in a state cause of action does not
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automatically confer federal question jurisdiction.’” Id. at 518 (quoting Merrell

Dow Pharms., Inc. v. Thompson, 478 U.S. 804, 813 (1986)). Indeed, Ayres took

pains to note that “in this case, we need not go so far as to hold that every state

RICO cause of action which depends upon proving, as necessary predicate acts, a

violation of the federal mail and wire fraud statutes establishes federal question

jurisdiction.” Id. at 519 (emphasis in original) (footnote omitted). Further, Ayres

expressly left in place district court decisions, including this Court’s ruling in

Graham, holding that federal jurisdiction did not exist over Georgia RICO actions

that included federal mail and wire fraud as predicates. Id. at 520 n.12.

           This Court has repeatedly noted that Ayres “cabined its holding.”

Neighborhood Mortg., 2007 WL 2479205, at *4; Austin, 510 F. Supp. 2d at 1226

(discussing limitations above and stating that in Ayres, “[t]he Eleventh Circuit

noted that its holding was narrow”); Scouten, 2004 WL 5486512, at *2 (discussing

limitations in Ayres); Gates, slip op. at 5-6 (same).

           B.    Because Proof of a Violation of Federal Law Is Not an Essential
                 Element of Plaintiffs’ Georgia RICO Claims, Ayres Does Not
                 Apply, and There Is No Federal Jurisdiction Here.

           This Court has also repeatedly held that Ayres does not apply and federal

question jurisdiction does not exist when a Georgia RICO claim is based on both

state law and federal law predicate acts. In such circumstances, a violation of

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federal law is not an “essential element” of the claim. Ayres, 234 F.3d at 520.

           This Court’s decision in Neighborhood Mortgage is on point. There, the

plaintiff alleged ten state law claims and two federal claims. 2007 WL 2479205, at

*1. One of the state law claims was for violation of the Georgia RICO Act. The

defendant argued that federal jurisdiction existed “because the adjudication of

Plaintiff’s complaint turns on a substantive question of federal law in the federal

mail and wire fraud predicate acts.” Id. at *2. The plaintiff countered that two of

the state statutes cited in its complaint could serve as predicate acts for the Georgia

RICO claim. Id. This Court “[found] Ayres distinguishable” in such

circumstances and held that federal jurisdiction did not exist. Id. at *3.

           In ordering remand, this Court followed Graham, in which “Judge O’Kelley

determined that even though the ten predicate acts cited in the plaintiff’s Georgia

RICO count were federal criminal offenses, there was no federal question

jurisdiction.” Id. at *4. In Graham, the plaintiff had amended its original

complaint for breach of contract to add a Georgia RICO count. The defendant, like

ML Pro, “argue[d] that federal question jurisdiction exists because plaintiff has

pled violations of ten federal criminal statutes as predicate acts under Georgia’s

RICO statute.” 75 F. Supp. 2d at 1373. The Court noted, however, that “Plaintiff

has also alleged nine predicate acts under Georgia law,” found that federal question

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jurisdiction did not exist and ordered remand. Id.

           In addition, Scouten, Austin and Gates all hold that when a plaintiff alleges

state law predicate acts, federal law predicate acts are not an essential element of a

Georgia RICO claim. In Scouten, the plaintiffs alleged three state law predicate

acts, including (like Plaintiffs here) theft, and two federal law predicate acts in

support of a Georgia RICO claim. The Court held, “Unlike the plaintiffs in Ayres,

Plaintiffs here alleged predicate acts under Georgia law such that the alleged

predicate acts under federal law are not ‘an essential element of the Plaintiffs’

cause of action.’” 2004 WL 5486512, at *2 (emphasis added). Similarly, in

Austin, the Court held, “In addition, the Court does not find that this case raises a

substantial federal question because plaintiff’s RICO allegations do not rest

solely on federal law. Rather, plaintiff’s allegations of violations of Georgia’s

theft by deception and theft by taking statutes could serve as plaintiff’s predicate

acts under Georgia’s RICO statute.” 510 F. Supp. 2d at 1227 (emphasis added).

The Court reached the same conclusion in Gates, stating that “only two of the

twelve predicate acts alleged in the complaint involve the federal mail fraud

statute; the others concern theft by deception, theft by taking, the making of false,

fictitious, and fraudulent statements, and other similar activities constituting acts of

racketeering under O.C.G.A. § 16-14-3(9)(A).” Gates, slip op. at 7. In short, in

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case after case, this Court has rejected the argument made by ML Pro. See

Meinders v. Refco Sec., Inc., 865 F. Supp. 721, 723 (D. Colo. 1994) (ordering

remand because assertion of federal securities violations as predicate acts under

state RICO statute does not establish federal question jurisdiction).

           C.    Asserting Violations of Federal Law in a State Law Claim Is
                 Insufficient to Confer Federal Question Jurisdiction.

           Plaintiffs’ Complaint alleges violations of federal law as part of a claim for

relief under the Georgia RICO Act, not as a claim for relief under any federal

statute. Complaint ¶¶ 112-20. ML Pro appears to proceed from the erroneous

assumption that if a plaintiff alleges violations of federal law in a complaint, then

federal jurisdiction exists. The Eleventh Circuit, however, has held that “it is now

well established that federal jurisdiction is not created by the mere fact that proof

of violation of a federal statute is an element of a plaintiff’s state law cause of

action.” Dunlap, 381 F.3d at 1292.

           This Court has repeatedly set forth the same holding. In Graham, the Court

stated, “After careful consideration, this court finds that asserting violations of

federal criminal law as predicate acts to Georgia’s RICO act is not sufficiently

substantial to confer federal question jurisdiction.” 75 F. Supp. 2d at 1373;

Scouten, 2004 WL 5486512, at *2 (same). In Austin, the Court “noted that other

courts in and outside of this circuit have held that a plaintiff’s allegations of
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violations of federal law as predicate acts under a state RICO act is not sufficiently

substantial to confer federal question jurisdiction.” 510 F. Supp. 2d at 1227

(citations omitted); id. at 1226 (“The mere fact that a court must apply or interpret

federal law to determine whether plaintiff is entitled to relief is not sufficient to

confer federal question jurisdiction.”). As in Austin, “At most, the Court [here]

must determine whether defendant committed a federal violation, which may serve

as a predicate act under Georgia’s RICO statute.” Id. at 1226-27; Gates, slip op. at

7 (“this case involves the issue as to whether [defendant’s] alleged acts of sending

certain documents through the mail for the purpose of perpetrating fraud

constitutes a violation of the federal mail fraud statute”). As set forth above, that

determination is insufficient to confer federal question jurisdiction.

           D.    Proof of a Violation of Federal Law Is Not an Element of Any of
                 the State Law Predicate Acts or Non-RICO State Law Claims.

           Plaintiffs do not have to prove that Defendants violated federal securities

laws or regulations to prove the state law predicate acts of theft by taking, theft by

deception, perjury, violation of the former Georgia Securities Act (“GSA”) or

violation of the Georgia Computer Systems Protection Act (“CSPA”), or to prove

their state law claims for conversion, money had and received, violation of the

GSA or violation of the CSPA. Defendants engaged in a set of misconduct that

includes fraud, deception, material misrepresentations and omissions, market
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manipulation, misappropriation, conversion, theft and false statements. This

panoply of misconduct violates Georgia law, and Plaintiffs’ task in this case is to

prove the specific elements of the state law predicate acts and state law claims

alleged in the Complaint. None of the state law predicates or state law claims

includes violation of federal law as an element. Thus, while Defendants’

misconduct does violate federal law, proof of that fact is not necessary for

Plaintiffs to prevail on their state law predicates or claims.

           ML Pro is simply wrong, and ignores the applicable legal standard, when it

asserts that all of Plaintiffs’ claims are premised on violations of federal securities

laws. Plaintiffs expressly allege, for example, that Defendants’ conduct violates

the Georgia Securities Act by: employing a “device, scheme or artifice to

defraud” in connection with sales of securities, Complaint ¶¶ 110-11, in violation

of O.C.G.A. § 10-5-12(a)(2)(A); making “untrue statement[s] of a material fact”

and “omittingto state [ ] material fact[s]” in connection with sales of securities,

Complaint ¶ 108, in violation of O.C.G.A. § 10-5-12(a)(2)(B); engaging in “an act,

practice or course of business that operates or would operate as a fraud or deceit”

in connection with sales of securities, Complaint ¶¶ 110-11, in violation of

O.C.G.A. § 10-5-12(a)(2)(C); “misappropriating” or “converting” property in

connection with sales of securities, Complaint ¶ 111, in violation of O.C.G.A.

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§ 10-5-12(d)(5); employing a “deceptive or fraudulent device, scheme or artifice to

manipulate the market in a security,” Complaint ¶ 109, in violation of O.C.G.A.

§ 10-5-12(d)(6); and selling unregistered securities, Complaint ¶ 107, in violation

of O.C.G.A. §§ 10-5-5, 10-5-12.

           Plaintiffs can prevail on these allegations under the GSA without showing a

violation of federal law. Avenius is on point:

           Here, Plaintiffs assert, inter alia, that Defendants never intended to make a
           timely delivery of the stock, and therefore, they engaged in deceptive
           conduct….[D]efendants’ intent with respect to delivery is central to the
           proof of Plaintiffs’ claims. In that regard, the duty or liability is not created
           by federal law; rather, it is created by state statute. Nor is a substantial
           disputed question of federal law a necessary element of the [California
           Corporations Code] Section 25400 claim….In addition, because Plaintiff’s
           claims are not predicated entirely on rights or obligations created by federal
           law, a court need not refer only to federal law to determine whether
           Defendants’ conduct was unfair or fraudulent.

2006 WL 4008711, at *5; Beechwood Dev. Group, Inc. v. Konersman, 517 F.

Supp. 2d 770, 774-75 (D.S.C. 2007) (remanding for lack of federal jurisdiction in

action alleging misrepresentations or omissions under state securities law despite

alternate theory of liability under federal securities laws).

           The same is true for Plaintiffs’ other state law predicate acts and claims:

-          Plaintiffs can prevail on the predicate act of theft by taking, O.C.G.A. § 16-

           8-2, and the claim of conversion by showing that Defendants unlawfully

           took or appropriated Plaintiffs’ property rights in TASER stock by creating
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           and trading in unauthorized, artificial shares of TASER, without also

           showing a violation of federal law;

-          Plaintiffs can prevail on the predicate act and claim of violation of the

           Georgia CSPA, O.C.G.A. § 16-9-93, by showing that Defendants engaged in

           such taking or misappropriation through the use of computers or by affecting

           computer data, without also showing a violation of federal law;

-          Plaintiffs can prevail on the predicate act of theft by deception by showing

           that Defendants used “any deceitful means or artful practice,” O.C.G.A.

           § 16-8-3(a), to obtain Plaintiffs’ property rights in TASER stock, without

           also showing a violation of federal law;

-          Plaintiffs can prevail on the predicate act of perjury, O.C.G.A. § 16-10-70,

           by showing that Defendants knowingly made false statements in this action,

           including by signing false interrogatory verifications, without also showing a

           violation of federal law, Complaint ¶ 150; and

-          Plaintiffs can prevail on the claim of money had and received by showing

           that Defendants received monies or stocks of which they are not the true

           owners and which, in equity and good conscience, they should not be

           permitted to keep, without also showing a violation of federal law, id. ¶ 176.

           With regard to the applicable legal standard, ML Pro’s own authority, Ayres,

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states that federal jurisdiction requires proof of “the necessity for Plaintiffs to

prove, as an essential element of their state law cause of action, the existence of

federal” law violations. 234 F.3d at 520 (emphasis added); id. at 517 (“‘To bring a

case within the [removal] statute, a right or immunity created by the Constitution

or laws of the United States must be an element, and an essential one, of the

plaintiff’s cause of action.”) (quoting Gully v. First Nat’l Bank, 299 U.S. 109,

112-13 (1936) (Cardozo, J.)) (emphasis added); Dunlap, 381 F.3d at 1290 (“for a

state-law claim to raise substantial questions of federal law, ‘federal law must be

an essential element of [the plaintiff’s] claim’”) (citation omitted) (emphasis

added); Adventure Outdoors, Inc. v. Bloomberg, 552 F.3d 1290, 1296 (11th Cir.

2008) (requiring proof that “plaintiffs’ state-law tort claims ‘necessarily raise a

stated federal issue’”) (emphasis added) (citations omitted). 5 ML Pro cannot meet

this standard for the simple reason that violations of federal law are not an essential

element of Plaintiffs’ state law predicates or state law claims.

           There is no issue of “artful pleading” around federal law here; Plaintiffs’

state law predicates and claims simply do not require proof of violations of federal

law. Plaintiffs’ claims arise out of state law rights and duties. Plaintiffs have state


5
 Adventure Outdoors supports Plaintiffs. There, the Eleventh Circuit ordered
remand of a state law defamation action even though the plaintiffs’ claims were
premised on the defendants’ statements that the plaintiffs had violated federal law.
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law rights to be free from fraud, misrepresentations and material omissions in the

sale of securities, state law rights to be free from market manipulation and state

law rights to be free from deceit, theft and misappropriation.6

           ML Pro’s ploy here is obvious: it attempts to suggest that because the

federal government regulates securities, federal law must be the source of

Plaintiffs’ claims. That suggestion is nonsense. It has been settled for decades that

states have the power, through state statutes and state common law, to punish

abuses in the securities field – even though the federal government also regulates

securities. States passed comprehensive securities laws long before the federal

government passed the Securities Act of 1933. 7 Indeed, by 1929, “virtually all the

states had some sort of securities act.” Long, 12 Blue Sky Law § 1:1. The

National Conference of Commissioners on Uniform State laws later passed the

Uniform Securities Act of 1956. 8 That Act has been adopted by 37 states and



6
  Kahn v. Salomon Bros., Inc., 813 F. Supp. 191, 195 (E.D.N.Y. 1993), cited by
ML Pro, is inapposite because the court there held that the plaintiff had “not
alleged the necessary elements for a state tort claim against defendants,” i.e., there
was no state law claim, and was only a federal claim, in the case. Kahn does not
hold that where a plaintiff alleges state law claims, those claims are converted into
federal claims because the conduct at issue also violates federal law.
7
  See 12 Joseph C. Long, Blue Sky Law § 1:1 (2008); 1 Thomas Hazen, Law Sec.
Reg. § 1.2 (5th ed. 2005).
8
  Richard W. Jennings, The Role of States in Corporate Regulation and Investor
Protection, 23 Law and Contemporary Problems 193, 221 n.168 (Spring 1958).
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regulates broker-dealers, securities fraud, and market manipulation. 9

           Congress has expressly approved and codified States’ role in the regulation

of securities. Both the federal Securities Act of 1933 and the federal Securities Act

of 1934 contain clauses that expressly preserve the role of state law remedies in the

securities field. Under Section 16 of the 1933 Act, “the rights and remedies

provided by this title shall be in addition to any and all other rights and remedies

that may exist at law or in equity.” 15 U.S.C. § 77p(a) (emphasis added). Section

28 of the 1934 Act incorporates an identical clause and provides that “nothing in

this title shall affect the jurisdiction of the securities commission…. of any state

over any security or any person insofar as it does not conflict with the provisions of

this chapter or the rules and regulations thereunder.” 15 U.S.C. § 78bb(a). ML

Pro inexplicably fails to mention these statutes. 10

           The bottom line is that States may provide claims for relief from abuses in

the securities field that are independent of, and in addition to, federal claims for


9
 A. Rachelson, Corporate Acquisitions, Mergers and Divestitures § 4:79 (2008).
10
  Consistent with Congress’s express approval of the States’ role in combating
securities abuses, Georgia courts routinely hear and decide state law claims
alleging misconduct in the sale of securities. See, e.g., Cohen v. William Goldberg
& Co., 262 Ga. 606 (1992) (state and federal securities law claims); Dehler v.
Setliff, 239 Ga. 19 (1977) (claims of fraud and violation of Georgia Securities Act);
Felton v. Highlands Hotel Co., 165 Ga. 598, 608 (1928) (claims under older
version of Georgia Securities Act); Cox v. Edelson, 243 Ga. App. 5 (2000) (claims
of fraud, misrepresentation and violation of Georgia Securities Act).
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relief. 11 When, as here, a plaintiff chooses to pursue only state law claims for

relief, federal question jurisdiction does not exist. 12

           ML Pro will no doubt attempt to argue that Plaintiffs’ state law claims would

conflict with federal securities regulations. First, as set forth, supra, at 7, the state

court rejected this very argument when it denied Defendants’ motion to dismiss

based on federal preemption. Ex. C (“Plaintiffs[’] State law claims do not conflict

with the Federal securities laws”). Second, ML Pro is dead wrong – federal

securities laws and regulations prohibit the misconduct alleged in the Complaint. 13

           Third, and most importantly for present purposes, the argument that a state


11
   It is irrelevant that Congress removed federal securities violations as predicate
acts under the federal RICO statute; states retain the right to permit federal
securities violations to be used as predicate acts under state RICO statutes. Supra
n.4; Metz v. United Counties Bancorp., 61 F. Supp. 2d 364, 371 (D.N.J. 1999).
12
   ML Pro’s argument that federal courts have exclusive jurisdiction over claims for
relief under the Securities Exchange Act of 1934 is also irrelevant. Notice of
Removal (Dkt. No. 1) ¶ 9. As set forth above, Plaintiffs are asserting claims for
relief under state law based on duties created by state law. Cf. Hawkins v. NASD,
149 F.3d 330, 331 (5th Cir. 1998) (case cited by defendants in which all of
plaintiff’s claims against NASD were based on duties “created by relevant federal
securities laws and regulations”); Whitehall Wellington Invs., Inc. v. NASD, No.
00-3899, 2000 WL 1846129 (S.D. Fla. Dec. 7, 2000) (case cited by defendants in
which court held that claims challenging the NASD’s application, in its regulatory
capacity, of an internal NASD rule were based on a duty under the Exchange Act).
13
   See, e.g., Complaint ¶ 5 (“the SEC stated that abusive naked short selling refers
to ‘selling short without having stock available for delivery and intentionally
failing to deliver stock within the standard three-day settlement cycle,’ and that
such short selling ‘as part of a manipulative scheme is always illegal under the
general anti-fraud provisions of the federal securities laws’”) (citation omitted).
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law cause of action conflicts with and is preempted by federal law is not a basis for

federal question jurisdiction. Rather, such an argument is a claim of “ordinary

preemption” that can be asserted in state court and is not a basis for removal. “So-

called ‘ordinary preemption’ which is raised as a defense based on the preemptive

effect of a federal statute, will not provide a basis for removal.” Dunlap, 381 F.3d

at 1290 n.8. It is only “complete preemption,” which “occurs when federal law so

occupies a given field that a state-law claim is transformed into a claim ‘arising

under’ federal law,” that permits removal. Id. (footnote omitted). Complete

preemption obviously does not exist here (and ML Pro makes no such claim) given

the long history of federal approval of state law claims in the securities field.

           To put it in more concrete terms, any argument by ML Pro that federal

regulations somehow permit its conduct is (in addition to being rejected and

erroneous) not a basis for federal question jurisdiction. As the Supreme Court has

stated, “[A] defendant cannot, merely by injecting a federal question into an action

that asserts what is plainly a state-law claim, transform the action into one arising

under federal law, thereby selecting the forum in which the claim shall be litigated.

If a defendant could do so, the plaintiff would be master of nothing. Congress has

long since decided that federal defenses do not provide a basis for removal.”

Caterpillar, 482 U.S. at 399 (footnotes omitted) (emphasis added).

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III.       PLAINTIFFS SHOULD BE AWARDED THEIR COSTS AND FEES.

           ML Pro removed this case without citing extensive authority rejecting its

argument, including numerous cases from this Court and a decision (Avenius)

denying a bid by Merrill Lynch (ML Pro’s parent and co-defendant) to remove a

similar short selling case on similar grounds. ML Pro knows that there is no

legitimate basis for federal question jurisdiction here. In such circumstances, an

award of costs and attorneys fees under 28 U.S.C. § 1447(c) is proper. Graham,

75 F. Supp.2d at 1373-74 (awarding fees where “defendant asserts without

authority that plaintiff’s Georgia RICO claim is, in fact, a claim under the federal

RICO Act because plaintiff has set forth various federal crimes as predicate acts”).

           Even putting aside bad faith, an award of costs and fees is proper. As Judge

Story stated in Coker, “the purpose of § 1447(c) is not to punish defendants for

improper removal, but to compensate plaintiffs for expenses associated with

obtaining a remand order….Here, this case was improperly removed by Defendant,

and the Court determines that Plaintiffs should be compensated for their expenses

in obtaining this remand.” 220 F. Supp. 2d at 1372-73. Plaintiffs have borne

significant expense to deal with this improper removal and should be compensated.

           Plaintiffs respectfully request that the Court remand this action and award

Plaintiffs’ all costs and fees they incur in connection with obtaining remand.

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           Respectfully submitted, this 6th day of October, 2010.

                                                  /s/ Steven J. Rosenwasser
                                                  John E. Floyd
                                                  Georgia Bar No. 266413
                                                  Steven J. Rosenwasser
                                                  Georgia Bar No. 614908
                                                  Nicole G. Iannarone
                                                  Georgia Bar No. 382510
                                                  BONDURANT, MIXSON &
                                                  ELMORE, LLP
                                                  1201 W. Peachtree Street
                                                  3900 One Atlantic Center
                                                  Atlanta, Georgia 30309
                                                  floyd@bmelaw.com
                                                  rosenwasser@bmelaw.com
                                                  iannarone@bmelaw.com
                                                  Phone: (404) 881-4100
                                                  Facsimile: (404) 881-4100

                                                  Attorneys for Plaintiffs




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                          CERTIFICATE OF COMPLIANCE

           Pursuant to Local Rule 7.1D of the Local Rules for the District Court for the

Northern District of Georgia, I hereby certify that the foregoing pleading and the

Brief in Support of Plaintiffs’ Motion for Remand, Fees and Costs have been

prepared in Times New Roman, 14 point font, as permitted by Local Rule 5.1B.

           Respectfully submitted this 6th day of October, 2010.

                                                  /s/ Steven J. Rosenwasser
                                                  Steven J. Rosenwasser
                                                  Georgia Bar No. 614908




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                              CERTIFICATE OF SERVICE

           I hereby certify that on this day, a true and correct copy of the foregoing

BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR REMAND, FEES

AND COSTS was electronically filed with the Clerk of Court using the Court’s

electronic filing system which will automatically send an email notification of such

filing to the following attorneys of record who are registered participants in the

Court’s electronic notice and filing system:

                 Attorneys for Defendants:
                 Richard H. Sinkfield, Esq.
                 Dan F. Laney, III, Esq.
                 Rogers & Hardin
                 2700 International Tower, Peachtree Center
                 229 Peachtree Street, N.E.
                 Atlanta, GA 30303-1601
                 rsinkfield@rh-law.com

           Further, I hereby certify that on this day, I caused a true and correct copy of

the foregoing BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR

REMAND, FEES AND COSTS to be served by Email and U.S. Mail on:

                 Attorneys for Banc of America Securities, LLC and
                 Merrill Lynch, Pierce, Fenner & Smith, Inc.:
                 Andrew J. Frackman, Esq.
                 O’Melveny & Myers LLP
                 7 Times Square
                 New York, NY 10036




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           Case 1:10-cv-03108-JEC Document 7-1 Filed 10/06/10 Page 30 of 31




                Attorneys for Morgan Stanley & Co. Incorporated:
                Robert F. Wise, Jr., Esq.
                William J. Fenrich, Esq.
                Melissa T. Aoyagi, Esq.
                Davis Polk & Wardwell LLP
                450 Lexington Avenue
                New York, NY 10017

                Attorneys for Bear Stearns:
                Stephen L. Ratner, Esq.
                Harry Frischer, Esq.
                Brian L. Friedman, Esq.
                Proskauer Rose LLP
                1585 Broadway
                New York, NY 10036

                Attorneys for The Goldman Sachs Group, Inc.:
                Richard C. Pepperman II, Esq.
                Richard H. Klapper, Esq.
                Tracy Richelle High, Esq.
                Sullivan & Cromwell LLP
                125 Broad Street
                New York, NY 10004

                Attorneys for Deutsche Bank Securities Inc.:
                Heather L. Fesnak, Esq.
                Peter J. Isajiw, Esq.
                Gregory A. Markel, Esq.
                Martin L. Seidel, Esq.
                Cadwalader Wickersham & Taft LLP
                One World Financial Center
                New York, NY 10281




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           Case 1:10-cv-03108-JEC Document 7-1 Filed 10/06/10 Page 31 of 31




                Attorneys for UBS Securities, LLC:
                Andrew B. Clubok, Esq.
                Jeffrey G. Landis, Esq.
                Daniel Gomez, Esq.
                Kirkland & Ellis LLP
                655 Fifteenth Street, N.W., Suite 1200
                Washington, DC 20005-5793

                Maria Ginzburg, Esq.
                Kirkland & Ellis LLP
                Citigroup Center
                153 East 53rd Street
                New York, NY 10022-4611

                Attorneys for Credit Suisse USA, Inc.:
                Fraser L. Hunter, Jr., Esq.
                Wilmer Cutler Pickering Hale & Dorr LLP
                399 Park Avenue
                New York, NY 10022

                This the 6th day of October, 2010.

                                                 /s/ Steven J. Rosenwasser
                                                 Steven J. Rosenwasser
                                                 Georgia Bar No. 614908




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